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15   AGENCY, INC.
16
                              UNITED STATES DISTRICT COURT
17
                         CENTRAL DISTRICT OF CALIFORNIA
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19   ENTTECH MEDIA GROUP LLC,               Case No. 2:20-cv-06298 RGK (Ex)
20               Plaintiff,                 Hon. R. Gary Klausner
21   v.                                     ARDALAN DECLARATION IN
                                            SUPPORT OF DEFENDANTS’ JOINT
22   OKULARITY, INC. et al.,                MOTION FOR SANCTIONS
23               Defendants.                Date:      October 26, 2020
                                            Time:      9:00 a.m.
24                                          Place:     TBD
25                                          Compl. filed:       July 15, 2020
26                                          No Trial Date Set
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      ARDALAN DECLARATION ISO DEFENDANTS’ JOINT MOTION FOR RULE 11 SANCTIONS
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 1         1.     I, Joanna Ardalan, am counsel of record in the above captioned case for
 2   Defendants Backgrid USA, Inc., Splash News and Picture Agency LLC, and Xposure
 3   Photo Agency, Inc. I have personal knowledge of the facts stated herein and if called
 4   to testify could and would testify as follows:
 5         2.     I first learned that ENTtech purportedly served Splash News and Picture
 6   Agency LLC (“Splash”) on August 6, 2020. On August 6, ENTtech filed a proof of
 7   service claiming that Splash had been served. That was not my understanding, so I
 8   contacted Mr. Tauler to discuss this issue among others. During my phone call with
 9   Mr. Tauler I told him that Splash had not been served. He told me he would
10   “investigate” and get back to me. In the meantime, I asked for an extension to
11   respond, because the deadline for our meet and confer for our motion to dismiss
12   would have been August 5, 2020, the day before I learned of this purported “service.”
13   Tauler refused to give Splash an extension, even though whether the entity was
14   served was a pending issue. I asked if he would agree to shorten the meet and confer
15   timeframe; he refused to do so. This was especially stunning because I extended him
16   the courtesy of shortening the 7-3 timeframe from seven days to one day in the case
17   the Photo Agencies filed against ENTtech. A true and correct copy of my e-mail
18   correspondence confirming the same is attached as Exhibit A.
19         3.     After we got off of the call, I investigated further and realized that there
20   are two entities, Splash News and Picture Agency LLC and Splash News & Picture
21   Agency LLC registered in California. They have different agents for service of
22   process. A true and correct copy of the Secretary of State records is attached as
23   Exhibit B.
24         4.     A colleague from my office called Splash News & Picture Agency
25   LLC’s agent that was listed on the proof of service. The agent confirmed that the
26   service had been rejected. The agent sent my office correspondence that was sent to
27   Tauler and that correspondence confirmed that the service was rejected. This
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      ARDALAN DECLARATION ISO DEFENDANTS’ JOINT MOTION FOR RULE 11 SANCTIONS
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 1   correspondence was dated July 23, 2020. A true and correct copy of this
 2   correspondence is attached as Exhibit C.
 3         5.     I called and e-mailed Tauler. True and correct copies of my additional
 4   correspondence is attached as Exhibit D. I attached the correspondence from the
 5   Agency (Exhibit C) to my e-mail dated August 10, 2020. See Exhibit D. I asked
 6   Tauler to correct the record, but he did not respond in substance to this request. The
 7   proof of service was eventually stricken by the Court for other reasons.
 8         6.     On August 25, Tauler filed a motion to dismiss in the other litigation.
 9   See Backgrid et al. v. ENTtech, 2:20-cv-06803-RSWL (Dkt. 24, footnote 3.) In
10   footnote 3, Tauler asked the court to take judicial notice of the proof of service of
11   Splash that he knew to be incorrect and misleading.
12         7.     Peter Perkowski and I met and conferred with Robert Tauler about this
13   motion on September 9, 2020. Pursuant to Rule 11, this motion and the supporting
14   papers were served by mail on August 31, 2020 and a courtesy copy was served
15   electronically on September 3, 2020 at Mr. Tauler’s request.
16         I declare under penalty of perjury that the facts contained herein are true and
17   correct.
18          Executed this 25th day of September 2020 at Beverly Hills, California.
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20                                           /s/ Joanna Ardalan
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      ARDALAN DECLARATION ISO DEFENDANTS’ JOINT MOTION FOR RULE 11 SANCTIONS
